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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:13CR106
                      Plaintiff,              )
                                              )
         vs.                                  )                  ORDER
                                              )
RUSSELL GLENN PIERCE,                         )
                                              )
                      Defendant.              )


         This matter is before the court on the motion to continue by defendant Russell
Glenn Pierce (Pierce) (Filing No. 292). Pierce seeks a continuance of the trial of this
matter which is scheduled for February 2, 2015.          Pierce’s counsel represents that
government’s counsel has no objection to the motion. Upon consideration, the motion will
be granted.


         IT IS ORDERED:
         1.    Pierce’s motion to continue trial (Filing No. 292) is granted.
         2.    Trial of this matter is re-scheduled for March 23, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
January 20, 2015, and March 23, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 20th day of January, 2015.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
